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12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 19-595-CAS

15              Plaintiff,                    RESPONSE TO DEFENDANT’S ARGUMENT
                                              AND OBJECTIONS TO THE COURT’S
16                   v.                       TENTANTIVE RULING ON MOTIONS IN
                                              LIMINE
17   EDWARD BUCK,
                                              Hearing Date: March 2, 2021
18              Defendant.                    Hearing Time: 10:00 a.m.
                                              Location:     Courtroom of the
19                                                          Hon. Christina A.
                                                            Snyder
20

21         Plaintiff United States of America, by and through its counsel
22   of record, the Acting United States Attorney for the Central District
23   of California and Assistant United States Attorneys Chelsea Norell
24   and Lindsay M. Bailey, hereby files its Response to Defendant’s
25   Argument and Objections to the Court’s Tentative Ruling on Motions in
26   Limine.
27   ///
28   ///
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 1        This Response is based upon the attached memorandum of points

 2   and authorities, the files and records in this case, and such further

 3   evidence and argument as the Court may permit.

 4   Dated: March 9, 2021                 Respectfully submitted,

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2        On March 2, 2021, this Court held a hearing on the parties’

 3   motions in limine.     Due to technical difficulties, Mr. Darden was

 4   unable to make oral argument on the government’s Motion in Limine to

 5   Exclude Prior Witness Convictions, Arrests, and Juvenile

 6   Adjudications (Dkt. 48).      The Court therefore granted defense counsel

 7   leave to file a supplemental brief “not to exceed two pages”

 8   addressing defendant’s arguments as to that motion.           Dkt. 113.   The

 9   Court took all other motions under submission.          Dkt. 113.

10   Regardless, defendant filed a four-page motion addressing all motions

11   in limine in violation of the Court’s Order.         The government

12   therefore objects to the Court’s consideration of any argument beyond
13   government’s motion in limine #1.1
14        The police reports and information provided by the government in
15   Appendix B demonstrate that convictions 17 and 18 for defendant D.N.
16   are more than 10 years old and therefore have limited probative
17   value.   Similarly, though we do not have release dates for
18   convictions 19 and 20, the fact that D.N. was subsequently convicted
19   of a misdemeanor in November of 2011 tends to suggest that D.N. was

20   released from custody prior to that point, making these convictions

21   more than 10 years old and thus of limited probative value.            Finally,

22   defendant seeks to admit these convictions not to demonstrate D.N.’s

23   character for truthfulness as permitted under FRE 609(a), but rather

24   to establish D.N.’s conformity with a character trait, which is

25   impermissible under FRE 404(a).

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27        1 Of note, defendant claims that the “government has yet to
     provide us with all of the necessary bench notes and raw data.” The
28   government produced this information on February 22, 2021, and has
     made the raw data available for inspection.
